                     IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 ASHEVILLE DIVISION

                               CRIMINAL CASE NO. 1:11cr36-5


UNITED STATES OF AMERICA,                     )
                                              )
                                              )
                        vs.                   )       ORDER
                                              )
                                              )
BRITTNEY LYNN MOORE.                          )
                                              )

       THIS MATTER is before the Court sua sponte to continue the case.

       On April 5, 2011, the Defendant was charged in a bill of indictment along with seven co-

defendants with conspiring to possess with intent to distribute at least 50 grams of

methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and 846. [Doc. 2]. The Defendant’s

initial appearance was held on April 21, 2011, at which time counsel was appointed. On April

26, 2011, the Defendant waived her right to make a personal appearance at an arraignment and

pled not guilty. [Doc. 27]. Thereafter, her case was placed on the May 9, 2011 calendar for

trial. [Doc. 28].

       The Court finds that this case should be continued. “Unless the defendant consents in

writing to the contrary, the trial shall not commence less than thirty days from the date on which

the defendant first appears through counsel or expressly waives counsel and elects to proceed

pro se.” 18 U.S.C. § 3161(c)(2). The Defendant here has not so consented, and thus, her trial

may not start less than thirty days from her appearance with counsel.

       In addition, the Court finds that counsel would not have an adequate opportunity to

prepare for trial, taking into account the exercise of due diligence. The Court therefore finds that




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a failure to continue the case "would deny counsel for the defendant . . . the reasonable time

necessary for effective preparation, taking into account the exercise of due diligence." 18 U.S.C.

§ 3161(h)(7)(B)(iv).

       For the reasons stated herein, the ends of justice served by the granting of the

continuance outweigh the best interests of the public and the Defendant in a speedy trial. See 18

U.S.C. § 3161(h)(7)(A).

       Accordingly, IT IS, THEREFORE, ORDERED that the above-captioned case is

CONTINUED from the May 9, 2011 term in the Asheville Division.

       IT IS SO ORDERED.

                                                 Signed: April 26, 2011




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